UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


JANE DOE,
                                                        Civil Action No. 25-1569
                              Plaintiff,

               v.                                       NOTICE OF MOTION FOR
                                                        LEAVE TO PROCEED
THOMAS BLAHA,                                           ANONYMOUSLY
                              Defendant.




       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

Declaration of Jack McNeily with exhibits in support, and the Complaint herein, Plaintiff Jane Doe

will move before this Court on a date and time to be designated by the Court, for an Order pursuant

to Rule 10(a) of the Federal Rules of Civil Procedure permitting Plaintiff to proceed anonymously

in these proceedings and maintain the name Jane Doe in the caption.

Dated: March 21, 2025                                /s/ Jack McNeily
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